




Dismissed and Memorandum Opinion filed July 27, 2006








Dismissed
and Memorandum Opinion filed July 27, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00391-CR

____________

&nbsp;

OMAR GARCIA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 228th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1043024

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to assault.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on March
3, 2006, to confinement for ten years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp; Appellant filed a notice of appeal.&nbsp; We
dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
27, 2006.

Panel consists of Justices Hudson, Fowler, and
Seymore.

Do Not Publish C Tex. R. App. P.
47.2(b)





